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                                      April 16, 2024
Ms. Molly C. Dwyer, Clerk
U.S. Court of Appeals for the Ninth Circuit
95 7th Street
San Francisco, CA 94103

       Re: Yukutake, et al. v. Lopez; No. 21-16756
Dear Ms. Dwyer:
       Pursuant to Circuit Rule 25-2 and Circuit Advisory Committee Note to Rule 25-
2, Plaintiffs-Appellees submit this letter to the Court advising that this matter was
argued and submitted on February 14, 2023.
       Pursuant to Circuit Advisory Committee Note to Rule 25-2(3), a party “is
encouraged to communicate” to the Court if “a decision on the merits has not been
issued within 9 months after submission[.]” In this case, “a decision on the merits” has
been pending for approximately 14 months after submission of the case.
       Yours very truly,
                                          /s/ Stephen D. Stamboulieh
                                          Stephen D. Stamboulieh

cc: All counsel of record (CM/ECF)
